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                                            1 ERIC BALL (CSB No. 241327)
                                              eball@fenwick.com
                                            2 KIMBERLY CULP (CSB No. 238839)
                                              kculp@fenwick.com
                                            3 FENWICK & WEST LLP
                                              801 California Street
                                            4 Mountain View, CA 94041
                                            5 Telephone:  650.988.8500
                                              Facsimile: 650.938.5200
                                            6
                                                ANTHONY M. FARES (CSB No. 318065)
                                            7   afares@fenwick.com
                                                ETHAN M. THOMAS (CSB No. 338062)
                                            8   ethomas@fenwick.com
                                                FENWICK & WEST LLP
                                            9   555 California Street, 12th Floor
                                                San Francisco, CA 94104
                                          10    Telephone: 415.875.2300
                                          11 Additional Counsel listed on next page
                                          12
                                             Attorneys for Plaintiff and
F ENWICK & W EST LLP




                                          13 Counterclaim Defendant
                       ATTORNEYS AT LAW




                                             YUGA LABS, INC.
                                          14
                                          15                               UNITED STATES DISTRICT COURT
                                          16                             CENTRAL DISTRICT OF CALIFORNIA
                                          17                                WESTERN DIVISION – Los Angeles
                                          18
                                          19 YUGA LABS, INC.,                                Case No.: 2:22-cv-04355-JFW-JEM
                                          20                       Plaintiff and             PLAINTIFF YUGA LABS, INC.’S
                                                                   Counterclaim Defendant,   OPPOSITION TO DEFENDANTS’
                                          21                                                 EX PARTE APPLICATION FOR
                                                       v.                                    LEAVE TO FILE A SUR-REPLY
                                          22
                                                                                             Judge: Honorable John F. Walter
                                          23 RYDER RIPPS, JEREMY CAHEN,                      Hearing: April 17, 2023 at 1:30 PM
                                                                                             Pre-Trial Conference Date: June 9, 2023
                                          24             Defendants and                      Trial Date: June 27, 2023
                                                         Counterclaim Plaintiffs.
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                                          27                  REDACTED VERSION OF DOCUMENT PROPOSED
                                                                      TO BE FILED UNDER SEAL
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                                           1 MELISSA L. LAWTON (CSB No. 225452)
                                             mlawton@fenwick.com
                                           2 FENWICK & WEST LLP
                                             228 Santa Monica Boulevard
                                           3 Santa Monica, CA 90401
                                             Telephone: 310.434.4300
                                           4
                                           5 DAVID   Y. SILLERS (admitted pro hac vice)
                                             david@clarelocke.com
                                           6 KATHRYN HUMPHREY (admitted pro hac vice)
                                             kathryn@clarelocke.com
                                           7 MEGAN L. MEIER (admitted pro hac vice)
                                             megan@clarelocke.com
                                           8 CLARE LOCKE LLP
                                             10 Prince Street
                                           9 Alexandria, VA 22314
                                             Telephone: 202.628.7400
                                          10
                                             Attorneys for Plaintiff and
                                          11 Counterclaim Defendant
                                          12 YUGA LABS, INC.
F ENWICK & W EST LLP




                                          13
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                                            1 their objection that is it not “authentic,” and so their weight of the evidence
                                            2 argument has already been offered to the Court.
                                            3           Second, their new argument that Mr. Lehman provided “context” to his
                                            4 declaration does not create a material dispute of fact because the unrebutted
                                            5 testimony of a witness does not become genuinely disputed merely by the addition
                                            6 of subsequent, non-contradictory statements adding “context” to the testimony.
                                            7           Third, the Court can completely disregard Mr. Lehman’s declaration and
                                            8 deposition testimony (or accept it all) and grant summary judgment in Yuga Labs’
                                            9 favor. In their Opposition, Defendants did not dispute more than seventy facts in
                                          10 Yuga Labs’ Motion. None of those undisputed facts rely solely on Mr. Lehman’s
                                          11 declaration for evidentiary support. See generally Combined Statement of Facts
                                          12 (Dkts. 193-2, 203 (sealed version)). Indeed, the briefing on the Motion reveals that
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                                          13 there is no dispute that Defendants used Yuga Labs’ BAYC Marks to promote their
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                                          14 RR/BAYC NFTs and trade off of Yuga Labs’ goodwill and that they personally
                                          15 knew there was a possibility of consumer confusion on marketplaces, and they
                                          16 proceeded anyway in releasing and promoting those infringing RR/BAYC NFTs
                                          17 notwithstanding the actual and likely confusion in those other marketplaces. While
                                          18 Mr. Lehman’s testimony corroborates those undisputed facts, those facts do not
                                          19 hinge on his testimony.
                                          20            Finally, by filing their ex parte application, Defendants impliedly concede
                                          21 that they did not support their Opposition to the Motion with evidence
                                          22 controverting any of Yuga Labs’ material facts. Defendants now improperly seek
                                          23 to undo hundreds of hours of work spent preparing and filing documents such as
                                          24 statements of decisions and memoranda of points and authorities required to
                                          25 properly file the Motion. Defendants’ several violations of the Court’s orders to
                                          26 file their ex parte application is a last gambit to keep any defense alive. Although
                                          27 the procedural impropriety of Defendants’ latest holiday-weekend fire drill is
                                          28 inexcusable, it should not change the outcome of Yuga Labs’ Motion.

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                                            1 II.       ARGUMENT
                                            2           A.      Defendants Improperly Ask the Court to Weigh Mr. Lehman’s
                                                                Testimony.
                                            3
                                                                1.      There Is No Factual Dispute About the Credibility of
                                            4                           Mr. Lehman’s Testimony or the Accuracy of his Declaration
                                            5           Mr. Lehman repeatedly testified at his deposition that his declaration reflects
                                            6 his truthful testimony. He explained that
                                            7                                                               Ball Decl. Ex. 1 at 237:19-
                                            8 241:7.
                                            9                                     Id. 237:19-242:2. And,
                                           10
                                           11
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                                           13            Id. (specifically at 239:7-14).
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                                           14           That Mr. Lehman said more in his documents (which, when printed, amount
                                           15 to more than 1,000 pages) than is contained in his declaration should surprise no
                                           16 one, except apparently Defendants. In much the same way that a deposition is a
                                           17 distillation of the facts that a witness knows about the topics the attorney chose to
                                           18 ask about, so too is Mr. Lehman’s declaration.
                                           19           Defendants’ arguments that there are other facts not included in Mr. Lehman’s
                                           20 declaration, at best, go to the weight of his testimony, not its admissibility. But, the
                                           21 Court does not weigh evidence on a motion for summary judgment. See Hirano v.
                                           22 Williams, No. EDCV 13-2371-DMG (AGR), 2017 WL 11632461, at *10 (C.D. Cal.
                                           23 Mar. 24, 2017) (“at the summary judgment stage the court does not make credibility
                                           24 determinations or weigh the evidence”). Further, the law is clear that “a party
                                           25 opposing summary judgment cannot meet his burden simply by challenging the
                                           26 credibility of the moving party’s evidence.” Washington v. Cambra, No. C95-3412
                                           27 TEH, 1996 WL 417245, at *3 (N.D. Cal. July 19, 1996).
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                                            1           The result is no different merely because Defendants characterize their
                                            2 proposed new evidence as added “context.” By way of example, Yuga Labs has told
                                            3 this Court much about its BAYC Marks. Yuga Labs’ discussions of its ownership of
                                            4 the BAYC Marks does not mean that it does not own other trademarks. It does. The
                                            5 existence of the Mutant Ape Yacht Club, Meebits, or CryptoPunks brands that Yuga
                                            6 Labs owns and protects does not raise a dispute about its ownership and protection
                                            7 of its BAYC brand. The same logic applies to Defendants’ use of Mr. Lehman’s
                                            8 deposition testimony — it does not controvert the truthful facts about which Mr.
                                            9 Lehman swore. See Orlando v. Los Alamitos Racing Ass’n, No. SACV 13–1090
                                           10 DOC(JPRx), 2015 WL 391958, at *4 (C.D. Cal. Jan. 28, 2015) (additional facts in
                                           11 plaintiff’s declaration did not directly contradict deposition testimony and thus did
                                           12 not create genuine issue of material fact) (quoting Nat’l Union Fire Ins. Co. of
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                                           13 Pittsburgh v. Argonaut Ins. Co., 701 F.2d 95, 97 (9th Cir. 1983) (“[N]either a desire
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                                           14 to cross-examine an affiant nor an unspecified hope of undermining his or her
                                           15 credibility suffices to avert summary judgment.”)). Defendants’ arguments merely
                                           16 highlight their lack of diligence in conducting discovery in the first place, not a
                                           17 material dispute of fact.
                                           18           Defendants have Mr. Lehman’s documents and have had them since 2022;
                                           19 they chose not to depose him about his documents until the eleventh hour. They
                                           20 assumed that Mr. Lehman would try to defend their scam to this Court. Instead,
                                           21 Mr. Lehman accepted responsibility for his actions and allowed the court in New
                                           22 York to enter an injunction against him because of the actual confusion his actions
                                           23 caused. Ball Decl. Exhibit 2 (Consent Judgment). They also erred in assuming that
                                           24 settlement communications with Yuga Labs would prove the declaration was
                                           25 perjured; that assumption was wrong, as evidenced by Defendants’ choice not to
                                           26 use a single such communication in the deposition or in their ex parte application.
                                           27 Mr. Lehman’s decision to settle with Yuga Labs also does not mean he lied in his
                                           28 declaration and again lied at his deposition about his belief that his declaration was

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                                            1 accurate. The additional purported facts that Defendants think they learned when
                                            2 they finally took Mr. Lehman’s deposition do not controvert his sworn declaration
                                            3 and, therefore, do not raise a material dispute of fact on Yuga Labs’ Motion for
                                            4 Summary Judgment. See Ross v. City of Tustin, No. SACV 18-2219 JVS (DFM),
                                            5 2020 WL 1269839, at *5, *7 (C.D. Cal. Jan 7, 2020) (finding witness’s testimony
                                            6 that they were unaware of training matching description of declarant did not
                                            7 contradict declarant’s testimony that he attended such training; overruling
                                            8 objections to declaration because “a mere question as to the credibility of [the]
                                            9 declaration” did not make it inadmissible).
                                           10                   2.      None of Defendants’ Cases Support Denying Yuga Labs’
                                           11                           Motion by Attacking Mr. Lehman’s Credibility
                                           12           Defendants cite In re Wank, 505 B.R. 878 (9th Cir. Br. 2014) to attack the
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                                           13 reliability of Mr. Lehman’s declaration, but this case lends Defendants no support.
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                                           14 The Wank declaration was more kompromat than a legitimate statement of facts.
                                           15 Id. at 882–83 (“The Settlement Agreement provided that the signed, original First
                                           16 Declaration would be kept in a sealed envelope by an escrow agent. If Wank failed
                                           17 to make the $750,000 . . . and later filed for bankruptcy protection, the Settlement
                                           18 Agreement provided that the First Declaration would be unsealed and submitted to
                                           19 the bankruptcy court.”). Furthermore, the Wank declaration was drafted by
                                           20 opposing counsel and the declarant himself sought its repudiation. Id. at 889.
                                           21 Mr. Lehman has unwaveringly and repeatedly affirmed the truth of his declaration,
                                           22 and his extensive participation in its preparation. There is no dispute on that fact.
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                                            2
                                            3           Likewise, the other cases Defendants cite for the proposition that summary
                                            4 judgment is inappropriate where there is a purported issue of credibility are similarly
                                            5 inapposite. In SEC v. Koracorp Indus., Inc., 575 F.2d 692 (9th Cir. 1978), the court
                                            6 was tasked with determining the “likelihood of recurrent violations” by each of the
                                            7 defendants to help it decide if it should issue an injunction. Id. at 699. The court
                                            8 found credibility material to that equitable determination because “[t]he allocation of
                                            9 responsibility depends heavily upon the credibility of the testimony of the several
                                           10 defendants.” Id. Therefore, unlike here, credibility was central to the merits of the
                                           11 motion before the court. To the extent Defendants rely on United States v. Two
                                           12 Tracts of Land in Cascade Cnty., Mont., 5 F.3d 1360 (9th Cir. 1993), 1 that case is
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                                           13 similarly inapplicable because there the lower court erred by weighing the evidence
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                                           14 at the summary judgment phase. Id. at 1362. It was not the credibility of the
                                           15 affidavits that raised a genuine issue of material fact, it was the contents of those
                                           16 affidavits. Id. In Uschold v. Carriage Serv., Inc., No. 17-cv-04424-JSW, 2020 WL
                                           17 1466172 (N.D. Cal. Mar. 6, 2020), the witness was previously convicted for
                                           18 “conspiracy to submit false claims,” which spoke directly to the witness’s honesty
                                           19 and credibility. Id. at *6. The court therefore felt obligated under Fed. R. Evid.
                                           20 609(a) to consider the conviction when deciding the motion. Id. There is no such
                                           21 obligation here. 2
                                           22
                                           23   1
                                                  The parenthetical that Defendants attribute to this case does not appear in the case
                                           24   text. It is therefore unclear whether Defendants intended to rely on this case.
                                                2
                                                  Defendants also cite to T.W. Elec. Serv., Inc. v. Pacific Elec. Contractors Ass’n,
                                           25   809 F.2d 626, 630 (9th Cir. 1987) for the proposition that “the judge [does not]
                                           26   make credibility determinations with respect to statements made in affidavits,
                                                answers to interrogatories, admissions or depositions. These determinations are
                                           27   within the province of the factfinder at trial.” Yuga Labs does not contest that a
                                                judge’s role on summary judgment is not to make credibility determinations. This
                                           28   case is otherwise factually distinct and does not turn on any credibility issue.
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                                            1           In short, Defendants offer not one case that permits the Court to deny Yuga
                                            2 Labs’ Motion for the sole purpose of having a jury assess Mr. Lehman’s credibility
                                            3
                                            4                                                                   But, the Court could
                                            5 also completely ignore Mr. Lehman’s declaration and Yuga Labs’ Motion would
                                            6 remain undisputed on the material facts.
                                            7           B.      The Court Can Ignore All of Mr. Lehman’s Testimony and Still,
                                            8                   Easily, Grant Summary Judgment to Yuga Labs.
                                            9           Even if the Court were inclined to disregard the entirety of Mr. Lehman’s
                                           10 declaration, the Court may still grant summary judgment for Yuga Labs because the
                                           11 facts remain materially undisputed based on all of the other evidence in the record.
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                                           14           As an initial matter, Mr. Lehman’s declaration has a narrow application in
                                           15 Yuga Labs’ Motion for Summary Judgment. Out of the 120 undisputed facts
                                           16 offered by Yuga Labs, Mr. Lehman’s declaration was included as evidentiary
                                           17 support for only seventeen. 3 Further, these facts pertain only to Yuga Labs’
                                           18 arguments regarding the likelihood of confusion from Defendants’ use of the
                                           19 BAYC Marks. Accordingly, the issues unrelated to consumer confusion — i.e.,
                                           20 Yuga Labs’ ownership of BAYC Marks and Defendants’ cybersquatting, and the
                                           21
                                           22
                                           23
                                                3
                                                  Defendants admit this. (Dkt. 207 at 1:22-23). They also use another misleading
                                                and confusing reference to “sixty times”, which seems to be their count of every
                                           24   time an undisputed fact that is supported by Mr. Lehman’s declaration is cited in
                                                Yuga Labs’ two summary judgment briefs (e.g., its opening and its reply briefs).
                                           25   That triple counting is misleading because it fails to acknowledge that those facts
                                           26   are supported by more evidence than just Mr. Lehman’s declaration. That count
                                                also ignores that when Yuga Labs’ summary judgment briefing cites an undisputed
                                           27   fact that is one of the seventeen supported by Mr. Lehman’s declaration, Yuga Labs
                                                also often cites to additional undisputed facts that do not rely on Mr. Lehman’s
                                           28   declaration.
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                                            1    73       Defendants expected to make money from the          Ball Decl. Ex. 27 ¶¶ 9-12;
                                                          sale and resale of RR/BAYC NFTs and from            Ex. 40 at Hickman Exs.
                                            2             potentially generating transaction fees from the    49, 55
                                            3             sale of NFTs on Ape Market.
                                                 75       Defendants’ software developer, Ryan                Ball Decl. Ex. 27 ¶ 15;
                                            4             Hickman, wrote in a chat that included              Ex. 40 at Hickman Ex. 58
                                                          Defendants, “We’re closing in on $10 million
                                            5             impact to yuga.”
                                            6           Thus, even if the Court declines to consider Mr. Lehman’s declaration, the
                                            7 undisputed facts remain well-supported by the evidentiary record.
                                            8           Remarkably, Defendants’ ex parte application states that “the new evidence
                                            9 that Defendants seek to address is material to any summary judgment ruling” (Dkt.
                                           10 207 at 7). But, neither in their ex parte application nor in their proposed sur-
                                           11 reply do Defendants identify even one single deposition quote from Mr. Lehman
                                           12 that they contend controverts even one of the foregoing facts. Indeed, they do not
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                                           13 cite any single undisputed fact that they now contend is disputed because of
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                                           14 something Mr. Lehman said at his deposition. Tellingly, Defendants also do not
                                           15 attempt to make any showing as to how any of the claims, defenses, or
                                           16 counterclaims at issue in Yuga Labs’ Motion for Summary Judgment dispositively
                                           17 fail or succeed because of Mr. Lehman’s deposition. Without such a showing,
                                           18 Defendants’ proposed sur-reply is merely a means to no end.
                                           19           C.      The Court Can and Should Deny Defendants’ Third Improper
                                           20                   Ex Parte Application Without Reaching the Merits of a Sur-Reply.
                                                                1.      Defendants’ Ex Parte Application Does Not Demonstrate
                                           21
                                                                        that They were “Without Fault” in Creating the Exigency;
                                           22                           They Were Solely Responsible for the Exigency
                                           23           “Ex parte applications are solely for extraordinary relief.” Standing Order
                                           24 (Dkt. 14) at 13; see also Mission Power Eng’g Co. v. Continental Cas. Co., 883 F.
                                           25 Supp. 488 (C.D. Cal. 1995). “Ex parte practice is strongly discouraged” by this
                                           26 Court. Case Management Order (Dkt. 57 at 7). As such, an ex parte application
                                           27 must show that “the moving party is without fault in creating the crisis that requires
                                           28 ex parte relief, or that the crisis occurred as a result of excusable neglect . . . . It is

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                                            1 the creation of the crisis — the necessity for bypassing regular motion procedures
                                            2 — that requires explanation.” Kim v. BMW of N. Am., LLC, No. CV 19-4209-
                                            3 JFW(GJSX), 2020 WL 13064697, at *1 (C.D. Cal. June 24, 2020).
                                            4           In discovery, Defendants have already brought two improper and meritless
                                            5 ex parte applications concerning Mr. Lehman’s testimony. Dkts. 108, 115. They
                                            6 withdrew the first application, which was wrought with procedural and substantive
                                            7 deficiencies. Dkts. 113 (Yuga Labs’ opposition), 114 (Defendants’ notice of
                                            8 withdrawal). The second was denied, with the Court noting that “[t]here was never
                                            9 any emergency or prejudice warranting ex parte relief” and that Defendants
                                           10 “essentially created their own non-existent emergency.” Dkt. 119 at 2.
                                           11           Here again, Defendants waited until the eleventh hour to concoct an
                                           12 emergency and seek to leverage that supposed emergency to obtain an exemption
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                                           13 from the rules. 6 Defendants have known that Mr. Lehman’s document production
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                                           14 revealing their admissions was dispositive of Yuga Labs’ case (in its favor) since
                                           15 2022. If they did not recognize that fact, they certainly knew Yuga Labs saw it that
                                           16 way given the numerous times Yuga Labs cited those documents during discovery.
                                           17 And, Defendants knew about Mr. Lehman’s declaration since it was produced on
                                           18 February 6, 2023—two months ago. They also knew that the testimony in his
                                           19 declaration was going to be used in this case, because they repeatedly told the Court
                                           20 as much.
                                           21           Indeed, in Defendants’ first improper ex parte application, filed on February
                                           22 17, 2023, they noted that Yuga Labs had “three of its experts rely on it in their
                                           23 expert reports.” Dkt. 108-1 at 1; id. at 5 (stating Yuga Labs has “used the
                                           24
                                           25   Defendants argue that filing an ex parte is the acceptable procedure for seeking a
                                                6
                                              sur-reply. This misses the point. They could have and should have raised the
                                           26 conflict between their Opposition due date and the date they set for Mr. Lehman’s
                                              deposition in early March so that the parties could attempt to resolve the conflict
                                           27 without the need for any sur-reply, or could identify an agreed procedure that
                                              avoided the need for any ex parte application. They chose to keep silent about their
                                           28 intention with Mr. Lehman’s deposition testimony.

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                                            1 declaration in this litigation as evidence”). They then told the Court, in that same
                                            2 filing, that “Yuga will likely continue to use Mr. Lehman’s affidavit, including
                                            3 during summary judgement.” Id. at 8 (emphasis added). On February 23, 2023,
                                            4 the Court advised Defendants that they would have a ruling on whether they would
                                            5 obtain the settlement agreement with Mr. Lehman and the related communications
                                            6 by “the last week of March before the . . . discovery cut-off date.” Dkt. 119 at 2.
                                            7 Defendants rescheduled Mr. Lehman’s deposition for March 27, 2023.
                                            8           Thus, by the time Yuga Labs told Defendants on March 2, 2023 it intended
                                            9 to file a motion for summary judgment, Defendants knew that their deposition of
                                           10 Mr. Lehman would occur with insufficient time for them to use any testimony in
                                           11 their Opposition. Not then or for nearly an entire month thereafter did Defendants
                                           12 ever once raise any issue regarding their potential desire to incorporate Mr.
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                                           13 Lehman’s deposition into their summary judgment opposition papers.
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                                           14           On March 6, 2023, when Defendants filed their motion to compel the
                                           15 settlement agreement and related communications with Mr. Lehman (Dkt. 121),
                                           16 they did not tell Judge McDermott about the conflict between the date they set for
                                           17 Mr. Lehman’s deposition and the date their opposition papers would be due. 7
                                           18           When Defendants finally agreed to and did meet and confer on Yuga Labs’
                                           19 motion for summary judgment on March 8, 2023, Defendants did not raise the
                                           20 issue of potentially wanting to incorporate Mr. Lehman’s deposition testimony into
                                           21 their opposition papers. See Dkt. 139 (Joint Statement re Local Rule 7-3
                                           22 Conference). Therefore, they did not seek any proposed schedule with Yuga Labs
                                           23 to allow them to incorporate Mr. Lehman’s deposition into their opposition papers.
                                           24
                                           25
                                           26
                                               Given the Court’s scheduling order setting the last date for hearing a motion for
                                                7

                                           27 summary    judgment as April 17, 2023 and the fact that Defendants still had not met
                                              and conferred with Yuga Labs on its motion on March 6, 2023, the only possible
                                           28 date their opposition would be due was March 27, 2023.

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                                            1           When Yuga Labs filed its motion on March 15, 2023, which used
                                            2 Mr. Lehman’s declaration as an exhibit (Exhibit 27), Defendants did not raise the
                                            3 issue at this point either (or for another two weeks).
                                            4           On March 22, 2023, after Yuga Labs filed its Motion for Summary Judgment
                                            5 and when counsel for Yuga Labs asked Defendants whether they still intended to
                                            6 take Mr. Lehman’s deposition, Defendants did not raise the issue at this point either
                                            7 when they confirmed they would proceed with the deposition.
                                            8           When Defendants filed their Opposition on March 27, 2023, even though
                                            9 they complained that they “have not yet had an opportunity [to] ‘explore whether
                                           10 the Declaration was coerced or was a condition of settlement as seems likely,’”
                                           11 Dkt. 163 at 12 (emphasis removed), they did not raise the issue at this point either.
                                           12 Indeed, they also did not file an affidavit or declaration pursuant to rule 56(d) at
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                                           13 that time (or any time) swearing that they could not present facts essential to justify
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                                           14 their Opposition to Yuga Labs’ Motion.
                                           15           Later, on March 27, 2023, after Defendants completed Mr. Lehman’s
                                           16 deposition and learned that there was no basis to argue that Mr. Lehman’s
                                           17 declaration was perjured, Defendants did not raise the issue at this point either.
                                           18           It was only on March 30, 2023 — almost a month after learning of Yuga
                                           19 Labs’ Motion and knowing the timing of Mr. Lehman’s deposition — that
                                           20 Defendants informed Yuga Labs that they intended to file a sur-reply addressing the
                                           21 deposition testimony. Even then, they indicated that they planned to meet and
                                           22 confer with Yuga Labs pursuant to Local Rule 7-3 and file a regularly noticed
                                           23 motion. Dkt. 205-3 at 8 (“Please provide your availability for a L.R. 7-3
                                           24 conference.”). The parties then agreed on a date for that meet and confer of lead
                                           25 counsel to occur the following week after Defendants’ lead counsel returned from
                                           26 his travel. It was only after the parties scheduled that meet and confer call and
                                           27 nearly one week later that Defendants then wrote that they planned to bring this
                                           28 issue to the Court through an ex parte application. Defendants’ delay (both from

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                                            1 when they learned of Yuga Labs’ Motion and even after they took Mr. Lehman’s
                                            2 deposition) is the sole reason for any crisis. But fabricating a reason for their
                                            3 motion does not meet the ex parte standard. Mission Power Eng’g, 883 F. Supp. at
                                            4 493 (denying ex parte application where movant failed to “establish that it was
                                            5 without fault in creating whatever it is that it perceives as a crisis condition.”).
                                            6           Defendants also cannot credibly argue that they were surprised by
                                            7 Mr. Lehman’s testimony, as their position since their February 17, 2023 ex parte
                                            8 application has been that Mr. Lehman’s declaration is “important[t] to this case” and
                                            9 that its “credibility is a highly relevant issue,” arguing that the statements in the
                                           10 declaration “have been taken out of context or are simply incorrect.” Dkt. 108-1 at
                                           11 7–8. Even if Mr. Lehman’s testimony was a bombshell that affected the other
                                           12 evidence in this case (it was not, as explained above), Defendants have been
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                                           13 representing all along that this is what they expected, and so they cannot now argue
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                                           14 they were surprised that Yuga Labs relied on it for its Motion. Of course,
                                           15 Mr. Lehman’s testimony contained no such surprising revelations.
                                           16           Defendants also did not use a single settlement communication during
                                           17 Mr. Lehman’s deposition, even after arguing to the Court that “Defendants did not
                                           18 accept Yuga’s offer [to produce the settlement agreement] because the
                                           19 communications are necessary to adequately test the credibility of Mr. Lehman’s
                                           20 affidavit as they including [sic] additional information on the negotiation process
                                           21 that led to the affidavit and the underlying settlement agreement.” Dkt. 121-1 at 6.
                                           22 Thus, they could have obtained the settlement agreement Yuga Labs offered to
                                           23 produce as a compromise position back in February and deposed Mr. Lehman in
                                           24 early March. But, they insisted on seeking the confidential settlement
                                           25 communications between counsel for Mr. Lehman and counsel for Yuga Labs even
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                                           27
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                                            1 after each of those attorneys had told them there was not going to be anything
                                            2 useful for them in those documents. 8
                                            3           Defendants’ unnecessary and improper request to file a sur-reply, after Yuga
                                            4 Labs’ Motion for Summary Judgment has been fully briefed with all accompanying
                                            5 documents submitted, would cause great prejudice to Yuga Labs and to the Court,
                                            6 who have already spent significant resources on this motion. And, as Yuga Labs has
                                            7 already raised as a concern, “Defendants’ repeated violations of this Court’s orders
                                            8 continues to needlessly increase the cost of this lawsuit.” Dkt. 193-1 at 1:17-18.
                                            9           Indeed, this application is part of Defendants’ pattern of timing their filings
                                           10 with the Court to coincide with holidays as an abusive litigation tactic. Defendants’
                                           11 first Local Rule 37-1 letter was sent such that the time to meet and confer
                                           12 overlapped completely with the Thanksgiving holiday and the meet and confer had
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                                           13 to be completed on the Monday immediately following Thanksgiving. Dkt. 69-9.
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                                           14 Defendants then timed their first joint stipulation such that Yuga Labs’ response was
                                           15 due the day after the Christmas holiday and refused to grant a three-day extension.
                                           16 See Dkt. 69-1, 69-36. Then, on December 27, 2022, Defendants filed counterclaims
                                           17 early, timed such that Yuga Labs’ answer was due on the day after Martin Luther
                                           18 King Jr. Day. Dkt. 65. On February 17, 2023, Defendants filed a procedurally
                                           19 deficient ex parte application after close of business on the Friday before a federal
                                           20 holiday weekend. Dkt. 108. Now, Defendants have filed their third improper ex
                                           21 parte application in connection with yet another holiday weekend. 9 This harassing
                                           22 tactic is not a coincidence.
                                           23   8
                                                  Yuga Labs resisted their production because of the very real chilling effect of
                                           24   producing its confidential settlement communications when there is another,
                                                similar, pending lawsuit with one of Defendants’ co-conspirators and where the
                                           25   emails provide Defendants’ counsel with an unfair advantage in any settlement
                                           26   discussions the parties here might have.
                                                9
                                                  Only after Yuga Labs’ team had canceled their Friday and Saturday plans to be
                                           27   prepared to respond within 24 hours to Defendants’ latest abusive ex parte did
                                                Defendants indicate that they were willing to file on Monday instead of Friday. By
                                           28   that point, the harm had been inflicted on Yuga Labs’ counsel.
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                                            1                   2.      Defendants’ Latest In a String of Procedural Violations
                                            2                           Caused Significant Prejudice to Yuga Labs
                                                        Defendants’ counsel’s violations of this Court’s orders and the local rules are
                                            3
                                                persistent and prejudicial. See e.g. Dkt. 40 (striking Defendants’ anti-SLAPP
                                            4
                                                motion for “violating paragraph 3(b) of the Courts Standing Order”); Dkt. 198
                                            5
                                                (Court order enforcing Defendants’ agreement to pay $10,000 following their
                                            6
                                                violation of the Court’s sealing rules and the Protective Order). Here, in their latest
                                            7
                                                in their string of violations of the Court’s orders, Defendants filed their ex parte
                                            8
                                                application at 6:05 p.m., but waited until 4:07 a.m. the next day to email Yuga
                                            9
                                                Labs some (but not all) of the unredacted copies of their papers. Ball Decl. ¶ 5.
                                           10
                                                They sent the remaining papers at 12:32 p.m. on April 8. See Local Rule 79-5.3
                                           11
                                                (“Because documents filed under seal (even those filed electronically) are visible on
                                           12
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                                                CM/ECF or PACER only to Court personnel and the person who filed the
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                                                document, a person electronically filing a document under seal may not rely on the
                                           14
                                                Court’s CM/ECF System to effect service . . . . At the time of filing, the documents
                                           15
                                                must be accompanied either by a Proof of Service in the form required by L.R. 5-
                                           16
                                                3.1.2 or by a declaration explaining why service is not required.”). Yuga Labs
                                           17
                                                confirmed too that Defendants neither faxed nor hand served their ex parte papers
                                           18
                                                on Yuga Labs’ counsel on April 7. Ball Decl. ¶ 6; Dkt. 14 at Section 6 (“In
                                           19
                                                addition to electronic service, the moving party shall immediately serve the
                                           20
                                                opposing party by fax or hand service . . .”). Defendants and their counsel have no
                                           21
                                                excuse for the repeated violations of this Court’s orders. Defendants’ proposed
                                           22
                                                remedy for their violation (a stipulation of more time to respond) would require
                                           23
                                                more work for Yuga Labs’ team which would need to be done over the same
                                           24
                                                holiday weekend.
                                           25
                                                        A court may impose sanctions under its inherent powers “when a party has
                                           26
                                                acted in bad faith, vexatiously, wantonly, or for oppressive reasons.” Chambers v.
                                           27
                                                NASCO, Inc., 501 U.S. 32, 45–46 (1991) (internal quotation marks omitted). A
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                                            1 court may exercise this power by requiring the sanctioned party to pay the opposing
                                            2 party’s attorney’s fees. Id.
                                            3           Further, “[d]istrict courts have the inherent power to sanction a lawyer for a
                                            4 ‘full range of litigation abuses.’” Evon v. Law Offices of Sidney Mickell, 688 F.3d
                                            5 1015, 1034–35 (9th Cir.2012) (quoting Chambers v. NASCO, Inc., 501 U.S. 32, 55
                                            6 (1991)). “‘[A] district court may levy sanctions pursuant to its inherent power for
                                            7 ‘willful disobedience of a court order . . . or when the losing party has acted in bad
                                            8 faith, vexatiously, wantonly, or for oppressive reasons.’” Id. at 1035 (quoting Fink
                                            9 v. Gomez, 239 F.3d 989, 991-993 (9th Cir. 2001)). “[A] ‘willful’ violation of a
                                           10 court order does not require proof of mental intent such as bad faith or an improper
                                           11 motive, but rather, it is enough that a party acted deliberately.” Id. at 1035.
                                           12           Defendants’ application lacks any substantive merit and should be denied for
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                                           13 that reason, but the procedural impropriety of Defendants’ filing also warrants denial
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                                           14 and admonishment by the Court. Defendants and their counsel should be required,
                                           15 at a minimum, to pay Yuga Labs’ attorneys’ fees and costs in connection with
                                           16 responding to this frivolous and procedurally improper ex parte application.
                                           17 III.      CONCLUSION
                                           18           Yuga Labs respectfully asks the Court to deny Defendants’ application and
                                           19 award Yuga Labs’ its attorneys’ fees and costs incurred in responding to Defendants’
                                           20 improper ex parte application, in addition to any further sanctions the Court deems
                                           21 necessary and appropriate.
                                           22           To the extent the Court grants the ex parte application and determines that the
                                           23 sur-reply may affect the outcome of Yuga Labs’ Motion for Summary Judgment,
                                           24 Yuga Labs respectfully requests an opportunity to be heard.
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                                            1 Dated: April 8, 2023                        FENWICK & WEST LLP
                                            2
                                            3                                             By: /s/ Eric Ball
                                            4                                                 Eric Ball
                                                                                          Attorneys for Plaintiff and
                                            5                                             Counterclaim Defendant
                                            6                                             YUGA LABS, INC.

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                                            1                              CERTIFICATE OF COMPLIANCE
                                            2           The undersigned, counsel of record for Plaintiff Yuga Labs, Inc., certifies
                                            3 that this brief contains 6,060 words, which:
                                            4             X complies with the word limited of L.R. 11-6.1.
                                            5
                                            6 Dated: April 8, 2023                        FENWICK & WEST LLP
                                            7
                                            8                                             By: /s/ Eric Ball
                                            9                                                 Eric Ball
                                                                                          Attorneys for Plaintiff and
                                           10                                             Counterclaim Defendant
                                           11                                             YUGA LABS, INC.
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